IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

KINDRED REHAB SERVICES, INC.
d/b/a REHABCARE,

Plaintiff,

V. Case No. l7-CV-910
MOUNT CARMEL HEALTH CARE,

LLC d/b/a BURLINGTON MEDICAL AND
REHAB CENTER, et al.

\_/\_/\/V\./\'/VVV\_/\_/\_/

Defendants.

DEFENDANT EASTVIEW HEALTH CARE, LLC’s ANSWER TO PLAINTIFF’S
FIRST AMENDED COMPLAINT

COMES NOW Defendant, Eastview Health Care, LLC d/b/a Eastview Medical and
Rehabilitation Center, (hereinafter referred to as “Defendant”), by and through undersigned
counsel, and for its Answer to Plaintiff’ s First Amended Complaint, respectfully states to this

Honorable Court as follows:
NATURE OF THE ACTION

l. Defendants admit that plaintiffs suit alleges various failures to pay. To the extent

this paragraph asserts liability for the same, defendants deny.
THE PARTIES

2. Defendant lacks sufficient knowledge or information to either admit or deny the
allegations contained within paragraph 2, and therefore denies the same.
3. Defendant lacks sufficient knowledge or information to either admit or deny the

allegations contained within paragraph 3, and therefore denies the same.

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4. Defendant lacks sufficient knowledge or information to either admit or deny the
allegations contained within paragraph 4, and therefore denies the same.

5. Defendant admits the allegations contained within paragraph 5.

6. Defendant lacks sufficient knowledge or information to either admit or deny the
allegations contained within paragraph 6, and therefore denies the same.

7. Defendant lacks sufficient knowledge or information to either admit or deny the
allegations contained within paragraph 7, and therefore denies the same.

8. Defendant lacks sufficient knowledge or information to either admit or deny the
allegations contained within paragraph 8, and therefore denies the same.

9. Defendant lacks sufficient knowledge or information to either admit or deny the

allegations contained within paragraph 9, and therefore denies the same.
JURISDICTION AND VENUE

lO. This paragraph states a legal conclusion for which no response is required. To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such

allegations are denied.

ll. This paragraph states a legal conclusion for which no response is required. To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such
allegations are denied.

12. This paragraph states a legal conclusion for which no response is required. To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such

allegations are denied.

STATEMENT OF FACTS

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l3.

To the extent this paragraph asserts that the “agreements” it references are

“materially similar as modified from time to time”, it states a legal conclusion for which no

response is required. Defendant does not have sufficient information to either admit or deny the

remaining allegations set forth within Paragraph 13 of Plaintiffs Complaint and, therefore,

Defendant denies the same.

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Defendant denies the allegations contained within paragraph 14.

This paragraph states a legal conclusion for which no response is required To the

extent that this paragraph is deemed to contain factual allegations requiring a response, such

allegations are denied.

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above.

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Defendant denies the allegations contained within paragraph 16.
Defendant denies the allegations contained within paragraph 17.
Defendant denies the allegations contained within paragraph 18.
Defendant denies the allegations contained within paragraph 19.
Defendant denies the allegations contained within paragraph 20.

Defendant denies the allegations contained within paragraph 21.

COUNT I - BREACH OF CONTRACT
(AS TO EACH DEFENDANT)

Defendant incorporates by reference its answers to each paragraph set forth

This paragraph states a legal conclusion for which no response is required.
Defendant denies the allegations contains within paragraph 24.
Defendant denies the allegations contains within paragraph 25.

This paragraph states a legal conclusion for which no response is required Further,

Defendant denies the remaining allegations within paragraph 26.

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27. This paragraph states a legal conclusion for which no response is required. Further,

Defendant denies the remaining allegations Within paragraph 27.

COUNT II - PROMISSORY ESTOPPEL
(AS TO EACH DEFENDANT)

28. Defendant admits plaintiff has plead promissory estoppel in the alternative to its
first count. To the extent this paragraph asserts liability for the same, defendants deny.

29. Defendant incorporates by reference its answers to each paragraph set forth above.

30. This paragraph states a legal conclusion for which no response is required. Further,
to the extent that this paragraph is deemed to contain factual allegations requiring a response, such
allegations are denied

3 l. This paragraph states a legal conclusion for which no response is required

32. Defendant denies the allegations contains within paragraph 32.

COUNT III - UNJUST ENRICHMENT
(AS TO EACH DEFENDANT)

33. Defendant admits plaintiff has plead unjust enrichment in the alternative to its first
two counts. To the extent this paragraph asserts liability for the same, defendants deny.

34. Defendant incorporates by reference its answers to each paragraph set forth above.

35. This paragraph states a legal conclusion for which no response is required To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such
allegations are denied

36. This paragraph states a legal conclusion for which no response is required To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such

allegations are denied

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37. This paragraph states a legal conclusion for which no response is required To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such
allegations are denied

38. This paragraph states a legal conclusion for which no response is required To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such
allegations are denied

39. This paragraph states a legal conclusion for which no response is required To the
extent that this paragraph is deemed to contain factual allegations requiring a response, such
allegations are denied

40. Defendant denies the allegations contains within paragraph 40.

41. DEFENDANT DEMANDS TRIAL BY JURY.

WHEREFORE, having fully answered Counts I-Ill of Plaintiff s Complaint, the Defendant
pray that the Court dismiss the Complaint at Plaintiff’s own cost, and for such other relief as the

Court deems just and proper.

AFFIRMATIVE DEFENSES

Pleading further and alternatively by way of affirmative defenses, Defendant states as
follows:

l. That each cause of action in the Complaint directed at Defendant fails to state a
claim for which relief may be granted and fails to state facts sufficient to entitle Plaintiff to the
relief sought as against Defendant.

2. That Plaintiff’ s actions may constitute a waiver of any right or remedy to which it
may otherwise be entitled

3. That Plaintiffs claims are barred by the doctrine of unclean hands.

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4. That Plaintiff’ s claims are barred under the principles of estoppel.

5. That Plaintiff has misjoined one or more Defendants in its complaint.

6. That Plaintiff’s claims may be barred, reduced, limited or set off by damage
caused to Defendant.

7. That Defendant reserves the right to assert additional affirmative defenses at such
time and to such extent as warranted by discovery and the factual and legal developments in this
casc.

WHEREFORE, having fully answered and responded to the allegations contained in the

Complaint, Defendant prays:

a. That Plaintiff’s Complaint be dismissed with prejudice with all costs taxed
against Plaintiff;
b. That Defendant be dismissed as a party to this action; and,
c. F or such other and additional relief as the Court deems just and proper.
Respectfully submitted,

FRANKEL, RUBIN, KLEIN, DUBIN,
S[EGEL & PAYNE, P.C.

 

 

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